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                      UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

In Re:                               )
                                     )
ACE MOTOR ACCEPTANCE                 )
CORPORATION,                         )
                                     )
                  Debtor.            )
                                     )
____________________________________ )           Case No. 18-30426
                                     )
ACE MOTOR ACCEPTANCE                 )           Chapter 11
CORPORATION,                         )
                                     )           Adv. Pro. No. 18-03036
                  Plaintiff,         )
                                     )
      v                              )
                                     )
MCCOY MOTORS, LLC; MCCOY             )
MOTORS, LLC d/b/a RIDE FAST;         )
ROBERT MCCOY, JR.; and MISTY         )
MCCOY,                               )
                                     )
                                     )
                  Defendants.        )


                               CERTIFICATE OF SERVICE

        This is to certify that the undersigned has this day served the attached MOTION FOR
ORDER GRANTING LEAVE TO FILE SECOND AMENDED COMPLAINT TO ADD
PARTIES AND ADDITIONAL CAUSES OF ACTION and MOTION FOR ORDER
SHORTENING NOTICE OF HEARING ON I) PLAINTIFF’S EMERGENCY MOTION
FOR ORDER GRANTING LEAVE TO FILE SECOND AMENDED COMPLAINT AND
ADD ROBERT MCCOY III AND FLASH AUTOS, LLC; II) EMERGENCY MOTION FOR
APPOINTMENT OF RECEIVER AS TO MCCOY MOTORS, LLC AND FLASH AUTOS,
LLC; III) ALTERNATIVE EMERGENCY MOTION FOR PRELIMINARY INJUNCTION
AS TO MCCOY MOTORS, LLC AND FLASH AUTO, LLC via email and first class mail as
follows:

Robert McCoy, Jr.
3606 Highway 51
Fort Mill SC 29715

Robert McCoy, Jr.
robmccoy@comporium.net
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Robert McCoy, Jr.
11915 John K Hall Way
Charlotte NC 28277

McCoy Motors and Misty McCoy
c/o Kristen Lang, Esq.
Lang Law Firm, P.C.
2435 Plantation Center Drive, Suite 205
Matthews, NC 28105
kharmonlang@gmail.com

Robert McCoy, III
11915 John K Hall Way
Charlotte NC 28277

Flash Autos, LLC
c/o Registered Agent, Robert McCoy III
3603 Highway 51
Fort Mill, S.C. 29715

Flash Autos, LLC
3606 Highway 51
Fort Mill, S.C. 29715


       Dated: November 20, 2018.


                                                 THE HENDERSON LAW FIRM

                                                  /s/James H. Henderson
                                                 James H. Henderson
                                                 State Bar No. 13536
                                                 1201 Harding Place
                                                 Charlotte NC 28204-2826
                                                 Telephone:     704.333.3444
                                                 Email:         henderson@title11.com
